Case 2:04-cr-20204-SH|\/| Document 5 Filed 07/01/05 Page 1 of 2 Page|D 2

UNITED STATES DISTRICT COURT
FOR THE HEDH{ `gg

WESTERN DISTRICT OF TENNESSEE

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UNITED sTATEs oF AMERICA ) fm , j ` ii
) cR. No. 04-20‘21$'4\"¥¢ LJTR;QI CQUHT
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VS.

JEOLONI JOHNSON

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APPLICATION, ORDER and WRIT FOR HABEA.S CORPUS AD PROSEQUEN'DU'M

The United States Attorney's Office applies to the Court for a Writ
to have JEOLONI JOHNSON, DOB: 03/18/74, SSN: XXX-XX-XXXX, RNI: 185539,
now being detained in the Shelby County Jail, appear before the Honorable
Diane K. Vescovo on Tuesday, July 5, 2005 @ 2:00 p.m. for Initial

Appearance and for such other appearances as this Court may direct.

Respec:tfully submitted this lst day/j lf.

E. Grug:§ illiuly,i®
Special:§ ssistant‘® S. Attorney

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Upon consideration of the foregoing Application, DAVID JoLLEY, U.S.
MARSHAL, WESTERN DISTRICT oF TENNESSEE, MEMPHIS, TN., SHERIFF/WARREN, SHELBY CoUNTY
JAIL, MEMPHIS, TN.
YOUR ARE HEREBY COMM.ANDED to have JEOLONI JOHNSON, DOB: 03/18/74,
SSN: XXX-XX-XXXX, RNI: 185539, appear before the Honorable Diane K.
Vesc:ovo on the date and time aforementioned.

161"

ENTERED this day of July, 2005.

UNITED STATES MAGISTRATE J'UDGE

 

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Notice of Distribution

ThiS notice confirms a copy of the document docketed as number 5 in
case 2:04-CR-20204 Was distributed by faX, mail, or direct printing on
July ], 2005 to the parties listed.

 

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

